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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               LUBBOCK DIVISION

TIMOTHY EDWARDS,

       Plaintiff,

v.
                                                           No. 5:20-CV-261-H
RIVER TREE RECOVERY GROUP,
LLC,

       Defendant.
                         ADMINISTRATIVE CLOSURE ORDER
       Timothy Edwards has advised the Court that it has settled this case. Dkt. No. 12.

Accordingly, this case is administratively closed for statistical purposes without prejudice to

it being reopened to enter a judgment or order of dismissal or for further proceedings if the

settlement is not consummated.

       So ordered on December 2, 2020.



                                            _____________________________________
                                            JAMES WESLEY HENDRIX
                                            UNITED STATES DISTRICT JUDGE
